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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-60891-CIV-SINGHAL

  INTER-COASTAL WATERWAYS, LLC,

               Plaintiff,

  vs.

  TRADESTATION SECURITIES, INC., et al.,

             Defendants.
  ______________________________________/
                                           ORDER

        THIS CAUSE is before the Court on Plaintiff’s Motion to Reopen the Action and

  for Leave to File an Amended Complaint (DE [54). The Motion is fully briefed and ripe for

  review. For the reasons discussed below, the motion is denied.

        I.     INTRODUCTION

        This is an action under Section 29(b) of the Exchange Act, 15 U.S.C. § 78cc(b)

  and Florida’s Uniform Commercial Code, RICO, and Civil Remedies for Criminal

  Practices Act. Defendant successfully moved to compel arbitration (DE [51]) pursuant to

  the parties’ various agreements. The parties were ordered to arbitrate the claims before

  a FINRA panel, which was the forum agreed to by the parties. Id. The Court stayed the

  case pending resolution of the arbitration proceedings and reserved jurisdiction to enforce

  any arbitration award. Id. Plaintiff timely appealed the Order compelling arbitration

  (DE [52]).

        Several days after filing the Notice of Appeal, Plaintiff filed the present motion

  under Fed. R. Civ. P. 60(b)(6), asking the Court to vacate its Order compelling arbitration
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  and re-open this case to permit Plaintiff to file a class action complaint. 1 If the Court were

  to grant the requested relief, the case could not proceed to arbitration because FINRA’s

  rules do not permit arbitration of class actions.

          Defendant opposes the motion (DE [64]) on the grounds that (1) Plaintiff does not

  meet the standards of Rule 60(b)(6); (2) Plaintiff cannot use a request to file a class action

  to circumvent this Court’s Order compelling arbitration; and (3) the proposed Amended

  Complaint would be futile.

          II.      LEGAL STANDARDS

          “Fed. R. Civ. P. 60(b) provides in part, ‘On motion and upon such terms as are

  just, the court may relieve a party ... from a final judgment, order, or proceeding for the

  following reasons: (1) mistake, inadvertence, surprise, or excusable neglect; ... or (6) any

  other reason justifying relief from the operation of the judgment.’” Solaroll Shade & Shutter

  Corp. v. Bio-Energy Sys., Inc., 803 F.2d 1130, 1131 (11th Cir. 1986). The decision of

  whether to grant a motion under Rule 60(b) is within the sound discretion of the trial court.

  Id.    But relief under Rule 60(b)(6) is an extraordinary remedy which requires

  “extraordinary circumstances.” Booker v. Singletary, 90 F.3d 440, 442 (11th Cir. 1996)

  (citing Ritter v. Smith, 811 F.2d 1398, 1401 (11th Cir.), cert. denied, 483 U.S. 1010

  (1987)). “[T]he purpose of the motion is to permit the trial judge to …correct obvious errors

  or injustices and so perhaps obviate the laborious process of appeal.” Fackelman v. Bell,

  564 F.2d 734, 736 (5th Cir. 1977). 2 The movant “must demonstrate a justification so




  1 Plaintiff also dismissed its appeal in the Eleventh Circuit. (DE [61]).


  2 “[D]ecisions of the United States Court of Appeals for the Fifth Circuit, as that court existed on September

  30, 1981” are binding on this Court. Bonner v. City of Prichard, Ala., 661 F.2d 1206, 1209 (11th Cir. 1981).

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  compelling” that the court is “required to vacate its order.” Cano v. Baker, 435 F.3d 1337,

  1342 (11th Cir. 2006).

         III.   DISCUSSION

         Plaintiff offers scant reasons for relief under Rule 60(b)(6). It argues that the

  request has been timely made, there has been no adjudication on the merits, and a class

  action is a judicially efficient way of resolving the claims made by Plaintiff and other

  customers of the Defendant. The original Complaint (DE [1]) contained a footnote stating

  that “Plaintiff reserves its right to convert this action into a class action pursuant to Fed.

  R. Civ. P. 23.” Id. ¶ 7. Plaintiff now argues that leave to amend a complaint should be

  liberally granted, see Fed. R. Civ. P. 15(a), but offers no explanation of why it did not

  move to amend the Complaint before the case was sent to arbitration. Simply put, the

  Court views the present motion as an attempt to seek to avoid the Order compelling

  arbitration. Plaintiff offers no argument that the Order was erroneous. This is, as

  Defendant argues, truly an attempt at a second bite of the apple. Accordingly, it is hereby

         ORDERED AND ADJUDGED that Plaintiff’s Motion to Reopen the Action and for

  Leave to File an Amended Complaint (DE [54) is DENIED.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 12th day of

  February 2025.




  Copies furnished counsel via CM/ECF




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